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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,                HON. KEVIN MCNULTY U.S.D.J.

                Plaintiff,                CRIMINAL NO. 20-205-03
           v.
                                               Criminal Action
JERVON MORRIS,
     a/k/a "Sticky",
JALIL HOLMES,
     a/k/a "Broad Day"
     a/k/a "BO",
KEVIN WILLIAMS,
     a/k/a "KK"
     a/k/a "Kay Kay",                    ORDER FOR INTERIM PAYMENT
JAKEEM GIBSON-MADISON,                   FOR REPRESENTATION OF COUNSEL
     a/k/a "Beanz",                      PURSUANT TO THE CRIMINAL
K'SHAWN JACKSON,                         JUSTICE ACT 18-3006{A) AS TO
     a/k/a " Lil Kay"                    DEFENDANT. KEVIN WILLIAMS
LAKIEF GRAYSON,
     a/k/a "LaLa"
     a/k/a "La Greaz",
WILLIE WILLIAMS,
     a/k/a "Willz", and
TERICK ROGERS,
     a/k/a "Moot",

           Defendants.




     Because of the complexity of the case, the expected length

of the pretrial preparation, the length of the trial, and the

anticipated hardship of counsel in undertaking representation

full-time for such a period without compensation, in accordance

with Section 230.73.10 of the Guidelines for the Administration
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                                        /s/ Kevin McNulty
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